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                      EXHIBIT B
      Case 3:15-cv-00120 Document 1-3 Filed in TXSD on 05/20/15 Page 2 of 6
                                                                                            Filed: 4/23/2015 11:52:08 AM
                                                                                         JOHN D. KINARD - District Clerk
                                                                                                 Galveston County, Texas
                                                                                                    Envelope No. 5003852
                                                                                                          By: Shailja Dixit
                                                                                                   4/23/2015 12:09:03 PM

                                       CAUSE NO. 15-CV-0405

 LINDA GRAYSON,                                    §
                                                   §            IN THE DISTRICT COURT OF
                  Plaintiff,                       §
 v.                                                §
                                                   §          GALVESTON COUNTY, TEXAS
 LEXINGTON INSURANCE CO.,                          §
                                                   §       Galveston County - 122nd District Court
                  Defendant.                       §                   JUDICIAL DISTRICT
                                                   §

                               PLAINTIFF'S ORIGINAL PETITION

TO THE HONORABLE JUDGE OF THIS COURT:

      COMES NOW, LINDA GRAYSON, Plaintiff in the above-styled cause, hereby complaining

of LEXINGTON INSURANCE COMPANY, and for this cause of action would show the Court

as follows:

                                      I.   NATURE OF LAWSUIT

      1.   This is an action by the Plaintiff who is insured by the Defendant to enforce the appraisal

clause included in their insurance contract. Lightning struck Mrs. Grayson's house on Galveston

Island in 2009 causing a fire which produced significant internal and external damage to the

structure and its contents. Mrs. Grayson filed a claim under her insurance policy with Lexington.

Lexington's inspector valued the cost of repair based on leaving the charred wooden interior in

place, but sealed. Mrs. Grayson's contractor, however, believed that the entire interior would have

to be replaced.

      2.   Lexington demanded appraisals in June 2010 and May 2012 pursuant to a provision in

the insurance contract which governs disputes between the parties, however, the appraisals never

took place. In November of 2014, Mrs. Grayson attempted to invoke the appraisal provision by

notifying Lexington in writing in accordance with the contract provision. Subsequent emails and


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calls to the company have gone unanswered and, to date, she has not received a response from

Lexington regarding her demand.

                                I I . DISCOVERY CONTROL PLAN

   3. Plaintiff intends for discovery to be conducted under Level 1 of Rule 190 pursuant to the

Texas Rules of Civil Procedure.

                                            I I I . PARTIES

   4.    Plaintiff, Linda Grayson is an individual residing in St. Louis, Missouri and is represented

by A. Craig Eiland, 2211 The Strand, Suite 201, Galveston, Texas 77550.

   5.     Defendant Lexington Insurance Company is a foreign insurance carrier, organized and

existing under the laws of Delaware and authorized to conduct business in Texas, whose principal

place of business is located at 99 High St, Floor 23, Boston, Massachusetts 02210-2378 and may

be served with process by serving the Texas Commissioner of Insurance at 333 Guadalupe Street,

Austin, Texas 78701 as its agent for service because defendant is required by Texas Insurance

Code section 804.103(b) to appoint and maintain an agent for service of process but has not done

so. Tex. Ins. Code §§ 804.103(c)(1), 982.001.

                                         IV. JURISDICTION

    6.   The Court has jurisdiction over the parties and subject matter of this cause. A district court

has subject matter jurisdiction to hear and determine any cause that is cognizable by courts of law

or equity and may grant any relief that could be granted by either courts of law or equity. See

Texas Const. Article V, § 8; Tex. Gov't. Code Ann. § 24.007-08. The Defendant regularly and

systematically transacts business in the State of Texas and has the required minimum contacts

giving this Court personal jurisdiction over the Defendant. Specifically:




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   7.       The Court has personal jurisdiction over Defendant Lexington Insurance Company

because this defendant is a domestic insurance company that engages in the business of insurance

in the State of Texas, is licensed by the Texas Department of Insurance, and Plaintiffs cause of

action arises out of this defendant's business activities in this state.

    8.    Venue is proper in Galveston County, Texas under Texas Civil Practice & Remedies Code

§ 15.032, because the insured properties are situated in Galveston County, Texas.

                                 V.   DECLARATORY JUDGMENT

    9.    A person interested under a contract may have determined any question of construction

or validity under the contract and obtain a declaration of rights. Tex. Civ. Prac. & Rem. Code Ann.

§ 37.004(a). A contract may be construed either before or after there has been a breach to determine

a contractual party's rights. Id. at § 37.004(b). Appraisal clauses contained in insurance contracts

are enforceable by either party regarding disputes over the "amount of loss" and are a condition

precedent to filing a lawsuit for breach of an insurance contract. State Farm Lloyds v. Johnson,

290 S.W.3d 886, 894 (Tex. 2009). Accordingly, the Texas Supreme Court has recognized the right

of an insured to compel an insurer's participation in the appraisal process pursuant to the insurance

contract through the filing of a declaratory judgment action. Id. at 895.

    10.    Based on the foregoing facts, and pursuant to the policy of insurance in force and effect

between Plaintiff and Defendant at the time of this incident, the Plaintiff seeks a declaratory

judgment pursuant to the Texas Declaratory Judgment Act that she is entitled to compel Defendant

to participate in the appraisal process.




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                                                  V I . DAMAGES

    11.    Plaintiff is entitled to an award of court costs and reasonable and necessary attorney's

fees as are equitable and just pursuant to the Texas Declaratory Judgment Act. Tex. Civ. Prac. &

Rem. Code Ann. § 37.009.

                                                V I I . PRAYER

   9. WHEREFORE, LINDA GRAYSON, Plaintiff, respectfully requests that Defendant be

cited to appear and answer, and that on final trial on the merits, grant judgment in favor of Plaintiff.

Plaintiff further requests to have and recover from the Defendant the following:

          a. Court Costs

          b. Reasonable and Necessary Attorney's Fees

          c. Such other and further relief, general or special, at law or in equity, to which the Court

          finds Plaintiff justly entitled.



                                             Respectfully submitted,

                                             T H E L A W O F F I C E S OF A . C R A I G E I L A N D




                                             Craig JBUand
                                             State Bar No. 06502380
                                             Email: ceiland@eilandlaw.com
                                             Old Galveston Square
                                             221 The Strand, Suite 201
                                             Galveston, Texas 77550
                                             Tel: 409.763.3260
                                             Fax: 409-763-8154

                                             ATTORNEY FOR PLAINTIFF




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                                                                                       Galveston County - 122nd District Court
                                                             CIVIL CASE INFORMATION SHEE T                                                                               4/23/201511:52:08 A M
                                                                                                                                                              J O H N D. K I N A R D - District Clerk
           CAUSE NUMBER (FOR CLERK USE ONLY):
                                                          15-CV-0405                                          ~     ,                  ,                              Galveston County, Texas
                                                                                                              COURT (FOR CLERK USE ONLY):                                Envelope Mo. 5003852
                                                                                                                                                                                    By: Shailja Dixit
              STYLED             Linda Grayson v. Lexington Insurance Co.                                                                                                4/23/2015 12:09:03 PM
                                (e.g., John Smith v. All American Insurance Co; In re Mary Ann Jones; In the Matter of the Estate of George Jackson)
A civil case information sheet must be completed and submitted when an original petition or application is filed to initiate a new civil, family law, probate, or mental
health case or when a post-judgment petition for modification or motion for enforcement is filed in a family law case. The information should be the best available at
the time of filing.
1. Contact information for person completing case information sheet:                 Names of parties in ease:                                      person or eotitv completing shed is:
                                                                                                                                                 liflAttorney for Plaintiff/Petitioner
Name:                                    Email:                                      Plaintiff(s)/Petitioner(s):                                  • Pro Se Plaintiff/Petitioner
                                                                                                                                                  • T i t l e IV-D Agency
  Craig Eiland                             ceiland@eilandlaw.com                        Linda Grayson                                             •Other:

Address:                                 Telephone:
                                                                                                                                                 Additional Parties in Child Support Case:
2211 The Strand, Ste 201                        409-763-3260
                                                                                     Defendant(s)/Rcspondent(s):                                 Custodial Parent:
City/State/Zip:                          Fax:
                                                                                        Lexington Insurance Co.
Galveston, TX, 77550                     713-513-5211                                                                                            Non-Custodial Parent:

                                         State Bar No:
                                                                                                                                                 Presumed Father:
                                           06502380
                                                                                     [Attach additional page as necessary to list all parties]

2. Indicate case type) or identify the most important issue in the ease (select only 1):
                                                  Civil                                                                                              Family     Law
                                                                                                                                                                 .Post-judgment Actions
              Contract                     Injury or Daina                           Ueal Properly                       Marriage Relationship                      (non-Title IV-D)
Debt/Contract                       • Assault/Battery                       • E m i n e n t Domain/                     •Annulment                            •Enforcement
  rWonsumer/DTPA                    •Construction                               Condemnation                            •Declare Marriage Void                 •Modification—Custody
  MDebt/Contract                    •Defamation                             •Partition                                  Divorce                                • Modifi cation—Other
  •Fraud/Misrepresentation          Malpractice                             • Q u i e t Title                              • W i t h Children                           Title IV-1)
  • O t h e r Debt/Contract:          •Accounting                           •Trespass to Try Title                         • N o Children                     •Enforcement/Modification
                                      •Legal                                • O t h e r Property:                                                             •Paternity
Foreclosure                           •Medical                                                                                                                •Reciprocals (UIFSA)
    • Home Equity—Expedited           • O t h e r Professional                                                                                                • Support Order
    • Other Foreclosure                  Liability:
•Franchise                                                                         Related to Criminal
•insurance                          • M o t o r Vehicle Accident                         Matters                             Other Family Law                 • Parent-Child Relationship
f~l Landlord/Tenant                 •Premises                               riExpunction                                 • Enforce Foreign                    •Adoption/Adoption with
• Non-Competition                   Product Liability                       n Judgment Nisi                                  Judgment                            Termination
• Partnership                         •Asbestos/Silica                      ONon-Disclosure                              •Habeas Corpus                       • Child Protection
• O t h e r Contract:                 • O t h e r Product Liability         i ~ ! S eizure/Forfeiture                    • N a m e Change                     • C h i l d Support
                                           List Product:                    • W r i t of Habeas Corpus-                  •Protective Order                    • Custody or Visitation
                                                                                  Pre-indictment                         • R e m o v a l of Disabilities      •Gestational Parenting
                                    • O t h e r Injury or Damage:           •Other:                                          of Minority                      • Grandparent Access
                                                                                                                         •Other:                              • Parentage/Paternity
                                                                                                                                                              •Termination of Parental
                                                                    Other Civil                                                                                   Rights
             Employment.
                                                                                                                                                              • Other Parent-Child:
• Discrimination                      •Administrative Appeal                • L a w y e r Discipline
•Retaliation                          • Antitrust/Unfair                    •Perpetuate Testimony
•Termination                              Competition                       • Securities/Stock
• W o r k e r s ' Compensation        • Code Violations                     • T o r t i o u s Interference
• O t h e r Employment:               • F o r e i g n Judgment              •Other:
                                      •intellectual Property


                  Tax                                                                          Probate       & Mental Health
  • T a x Appraisal                   Probate/Wills/Intestate Administration                                   • Guardianship—Adult
  • T a x Delinquency                    •Dependent Administration                                             •Guardianship—Minor
  • O t h e r Tax                        •independent Administration                                           • M e n t a l Health
                                         • O t h e r Estate Proceedings                                        •Other:

3. Indicate procedure or remedy, if applicable (may select y     than 1):
 • A p p e a l from Municipal or Justice Court               Declaratory Judgment                                                     •Prejudgment Remedy
 • Arbitration-related                                   •Garnishment                                                                 •Protective Order
 • Attachment                                            •interpleader                                                                •Receiver
 • B i l l of Review                                     •License                                                                     •Sequestration
 • Certiorari                                            •Mandamus                                                                    •Temporary Restraining Order/Injunction
 • Class Action                                          •Post-judgment                                                               •Turnover
 4. Indicate damages sought {do not select if it is a family law case):
 TiJLess than $100,000, including damages of any kind, penalties, costs, expenses, pre-judgment interest, and attorney fees
  • L e s s than $100,000 and non-monetary relief
  • O v e r $100, 000 but not more than $200,000
  • Over $200,000 but not more than $1,000,000
  • Over $1,000,000

                                                                                                                                                                                  Rev 2/13
